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     UNITED STATES OF AMERICA
15
                             UNITED STATES DISTRICT COURT
16
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
     UNITED STATES OF AMERICA,                No. CR 19-642-VAP
18                                                CR 20-155-VAP
                Plaintiff,
19
                      v.                      GOVERNMENT’S UNOPPOSED EX PARTE
20                                            APPLICATION FOR AN EXTENSION OF
     IMAAD SHAH ZUBERI,                       TIME TO FILE A RESPONSE TO
21                                            DEFENDANT’S MOTION TO MODIFY OR
                Defendant.                    CLARIFY PROTECTIVE ORDERS;
22                                            DECLARATION OF AUSA ELISA
                                              FERNANDEZ
23

24

25         Plaintiff United States of America, by and through its counsel
26   of record, the United States Attorney for the Central District of
27   California, hereby files the Government’s Unopposed Ex Parte
28   Application For An Extension of Time to File A Response to
     Case 2:20-cr-00155-VAP Document 149 Filed 01/03/22 Page 2 of 5 Page ID #:1293



1    Defendant’s Motion to Modify or Clarify Protective Orders,

2          The government hereby moves ex parte for an extension of the

3    time within which the government must file a response to Defendant

4    Imaad Shah Zuberi’s (“Defendant”) or (“Zuberi”) Motion to Modify or

5    Clarify Protective Orders.       The defense does not oppose this

6    application.     The government’s response is currently due on January

7    3, 2022.      The government requests an extension until January 24,

8    2022.      Defendant’s reply, if any, would be due on January 31, 2022.

9    Defendant does not oppose this request.         The government’s motion
10   seeking additional time to respond to the Motion is based on the
11   following:
12         1.      On December 20, 2021, defendant filed a Notice of Motion
13   and Motion to Modify or Clarify Protective Orders (“Motion”).             [CR
14   19-642; Docket No. (“Dkt.”) 410; CR 20-155-VAP, Dkt. 148.]            The
15   Motion was not filed on the public docket.         The defense advises that
16   the Motion was noticed for hearing on Tuesday, January 18, 2022.
17         2.      Due to unexpected illnesses, the retirement of a former
18   government attorney of record, additional time is needed to access

19   the Motion, conduct legal research, and, if needed, to confer with

20   the defense.

21         3.      On December 31, 2021, Ashwin J. Ram, Counsel to Zuberi,

22   //

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1    advised via email that the defendant did not oppose the government’s

2    request to file a response to the Motion on January 24, 2022.

3     Dated: January 3, 2022               Respectfully submitted,

4                                          TRACY L. WILKISON
                                           United States Attorney
5
                                           SCOTT M. GARRINGER
6                                          Assistant United States Attorney
                                           Chief, Criminal Division
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9                                          ELISA FERNANDEZ
                                           Assistant United States Attorney
10                                         Public Corruption & Civil Rights
                                           Section
11
                                           Attorneys for Plaintiff
12                                         UNITED STATES OF AMERICA

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1                           DECLARATION OF ELISA FERNANDEZ

2          I, ELISA FERNANDEZ, hereby declare and state as follows:
3
           1.    I am an Assistant United States Attorney in the Central
4
     District of California and a member of the Public Corruption & Civil
5
     Rights Section.
6
           2.    I make this declaration in support of the Government’s
7

8    Unopposed Ex Parte Application For An Extension of Time to File A

9    Response to Defendant’s Motion to Modify or Clarify Protective

10   Orders.    The government moves ex parte for an extension of the time
11   within which the government must file a response to Defendant Imaad
12
     Shah Zuberi’s (“Defendant”) or (“Zuberi”) Motion to Modify or Clarify
13
     Protective Orders (“Motion”).       The government’s response is currently
14
     due on January 3, 2022.      The government requests an extension until
15
     January 24, 2022. Defendant’s reply, if any, will be due on January
16

17   31, 2022.    As set forth below, Defendant does not oppose this

18   request.

19         3.    On December 20, 2021, Defendant filed a Notice of Motion
20
     and Motion to Modify or Clarify Protective Orders (“Motion”). [CR 19-
21
     642; Docket No. (“Dkt.”) 410; CR 20-155-VAP, Dkt. 148.]            The Motion
22
     was not filed on the public docket.         The defense advises that the
23
     Motion was noticed for hearing on Tuesday, January 18, 2022.
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25         4.    Due to unexpected illnesses and the retirement of a former

26   government attorney of record, additional time is needed to access

27   the Motion, conduct legal research, and, if needed, to confer with
28   the defense.
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1          5.    On December 31, 2021, Ashwin J. Ram, Counsel to Zuberi,
2    advised via email that the Defendant did not oppose the government’s
3
     request to file a response to the Motion on January 24, 2022.
4
           I declare under penalty of perjury under the laws of the United
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     States of America that the foregoing is true and correct, and that
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     this declaration is executed at Los Angeles, California, on January
7
     03, 2022.
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                                                 ELISA FERNANDEZ
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